Case 21-00701-FJS         Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13                    Desc Imaged
                              Certificate of Notice Page 1 of 14



                         UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF VIRGINIA

   ____________________________________
                                       )
   In re:                              )
                                       )                          Miscellaneous Proceeding
   JOHN CARTER MORGAN, JR.,            )
                                       )
               Debtor.                 )
   ____________________________________)

    ORDER TO APPEAR AND SHOW CAUSE PURSUANT TO LOCAL BANKRUPTCY
    RULE 2090-1(I)(3) AND FEDERAL RULE OF DISCIPLINARY ENFORCEMENT II

          Local Bankruptcy Rule 2090-1(I) sets forth the Court’s rules concerning discipline of

   attorneys. Local Bankruptcy Rule 2090-1(I)(3) provides, in relevant part:

          Imposition of Discipline by Other Courts; Attorneys Convicted of Serious Crimes:
          All counsel admitted to practice before this Court on any basis shall be admitted
          subject to the rules, conditions, and provisions of the Federal Rules of Disciplinary
          Enforcement Rule I, Rule II and Rule III, a copy of which is appended as Exhibit
          11 to these Local Bankruptcy Rules. . . .

   Federal Rule of Disciplinary Enforcement (“FRDE”) II requires an attorney who is admitted to

   practice before this Court to report to the Clerk of this Court if he or she is subject to discipline by

   another court in the United States. The Court is then required to issue

          [a]n order to show cause directing that the attorney inform this Court within 30 days
          after service of that order upon the attorney, personally or by mail of any claim by
          the attorney predicated upon the grounds set forth [in subsection (D) of FRDE II]
          that the imposition of the identical discipline by the Court would be unwarranted
          and the reasons therefor.

   The Court must also give the attorney notice of the order to show cause along with a copy of the

   disciplinary order.

          The above-captioned attorney, John Carter Morgan, Jr., has informed the Clerk of this

   Court that he was subject to discipline by the United States Bankruptcy Court for the Western

   District of Virginia (the “Western District Bankruptcy Court”). A copy of this notice is attached
Case 21-00701-FJS          Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13                           Desc Imaged
                               Certificate of Notice Page 2 of 14


   hereto as Exhibit A. By order entered February 12, 2018, attached hereto as Exhibit B, the Western

   District Bankruptcy Court revoked Mr. Morgan’s privilege to practice law in the Western District

   Bankruptcy Court, including through John C. Morgan Jr. PLLC, for a period of eighteen (18)

   months to take effect within thirty (30) days of said order becoming final and unappealable 1 (the

   “Disciplinary Order”). The basis for the Western District Bankruptcy Court’s imposition of

   discipline against Mr. Morgan is fully set forth in the Disciplinary Order. The Disciplinary Order

   was made final by the United States District Court for the Western District of Virginia by order

   entered July 9, 2021, which was not appealed. Accordingly, the Western District Western District

   Bankruptcy Court entered an Order on September 16, 2021, which is attached hereto as Exhibit C,

   implementing the terms of the Disciplinary Order.

           In accordance with Local Bankruptcy Rule 2090-1(I)(3) and FRDE II, the Court finds that

   Mr. Morgan must show cause why he should not be subject to identical discipline by this Court.

   Accordingly, for the reasons stated herein, the Court ORDERS within 30 days after service of this

   Order to Show Cause upon him, that John Carter Morgan, Jr. must file a response to this Order

   that sets forth any claim by him predicated upon the grounds set forth in subsection (D) of FRDE

   II that the imposition of the identical discipline by the Court would be unwarranted and the reasons

   therefor.

           The Court further ORDERS that John Carter Morgan, Jr. appear at a hearing on this Order

   to Show Cause on January 11, 2022, at 12:30 p.m. via Zoom. The Court will provide Mr. Morgan

   with instructions on how to appear via Zoom no later than two weeks prior to the scheduled

   hearing.




   1
     The Western District Bankruptcy Court also imposed a $5,000 monetary sanction which is not relevant to the
   reciprocal discipline purposes of this Order.
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13     Desc Imaged
                        Certificate of Notice Page 3 of 14




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Case 21-00701-FJS                    &9)*#*5"
                    Doc 4 Filed 11/24/21     Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 4 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
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                        Certificate of Notice Page 5 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 6 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 7 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 8 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 9 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 10 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
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                                      Notice Page 11 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 12 of 14
Case 21-00701-FJS   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13   Desc Imaged
                        Certificate of Notice Page 13 of 14
         Case 21-00701-FJS                   Doc 4 Filed 11/24/21 Entered 11/25/21 00:14:13                                            Desc Imaged
                                                 Certificate of Notice Page 14 of 14
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 21-00701-FJS
                                                                                                                       Chapter
Morgan, Jr.
     Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0422-8                                                  User: snydera                                                               Page 1 of 1
Date Rcvd: Nov 22, 2021                                               Form ID: pdford7                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 24, 2021:
Recip ID                 Recipient Name and Address
dft                    + John Carter Morgan, Jr., 98 Alexandria Pike, Suite 10, Warrenton, VA 20186-2849

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 24, 2021                                            Signature:           /s/Joseph Speetjens
